
248 S.E.2d 257 (1978)
295 N.C. 653
Phillip A. STONE and Joan T. Stone
v.
PARADISE PARK HOMES, INC., et al.
Supreme Court of North Carolina.
October 4, 1978.
A. D. Ward, Alfred D. Ward, Jr., Joshua W. Willey, Jr., for plaintiffs.
Ellis, Hooper, Warlick, Waters &amp; Morgan, Warlick, Milsted, Dotson &amp; McGlaughon, for defendants.
Petitions by plaintiffs and defendants for discretionary review under G.S. 7A-31, 37 N.C.App. 97, 245 S.E.2d 801. Denied.
